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SAWYER & BREWSTER

PROFESSIONAL CORPORATION

 

AIM MAY DP Ce op. Jesse W. Abair
COUNSELLORS AT LAW Wa AY 2?E J: 23 (617) 951-1103

jabalr@rackemann.com

  

May 21, 2009

VIA HAND DELIVERY

Mr. Dennis O’ Leary

Courtroom Clerk to Hon. Mark L. Wolf
Untied States District Court

Joseph Moakley Courthouse

One Courthouse Way

Boston, MA 02210

Re: Noonan y, Wonderland Greyhound Park Realty, LLC, et al.
U.S. District Court No, 09-CV-10723

Dear Mr. O’ Leary:

As counsel for Anglo Insh Bank Corporation, Limited, the removing party to the above-
referenced action, I write in response to the Court’s May 11, 2009 Memorandum and Order in
which the Court requests that this case be assigned Magistrate Judge Bowler. Please be advised
that at least one party does not consent to a transfer to Magistrate Judge Bowler.

Thank you for your attention to this matter.

Ver

 

SS

JWA:slf

cc! Deborah S. Griffin, Esq.
Beth Jacobson, Esq.
Patrick Dinardo, Esq.

160 Federal Street

Boston, MA 02110-1700

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